                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                             Civil Action No. 5:23-cv-630-FL

SONYA SHAW,                           )
                                      )
                Plaintiff,            )
                                      )
 v.                                   )
                                      )
 THE TOWN OF GARNER, RODNEY )
 DICKERSON, in his individual )
 capacity, MATT ROYLANCE, in his )
 individual  capacity,    and   B.D. )
 SECHLER, in his individual capacity, )
                                      )
                Defendants.           )




       NOW COME the undersigned counsel on behalf of the Plaintiff and moves the Court

pursuant to Fed. R. Civ. P. 6(b) and Local Civil Rule 6.1, to extend the time for responding to

Defendants’ Motion to Dismiss for 21 days. In support of this Motion, Plaintiff shows the

Court the following:

1.     The Complaint (DE01) in this matter was filed on October 30, 2023.

2.     Defendants’ unopposed Motion to Extend Time (DE17) to Plaintiff’s Complaint was

       filed on November 17, 2023, and was granted.

3.     On December 22, 2023, Defendants filed a Motion to Dismiss Plaintiff’s Complaint

       (DE19).

4.     On December 29, 2023, Defendants filed an amended Motion to Dismiss Plaintiff’s

       Complaint (DE21).

5.     The time for responding to Defendants’ Motion to Dismiss has not expired.



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6.    Opposing Counsel have no objection to Plaintiff’s Motion to Extend.

7.    Good cause exists for this Motion to Extend due to Plaintiff’s counsel’s law firm’s

      transition to a new practice management system which has taken up an unanticipated

      amount of time and prevented Plaintiff’s counsel from finalizing the Memorandum in

      Opposition to the Motion to Dismiss.

      WHEREFORE, Plaintiff respectfully requests an extension of the time of 21 days, or

up to and including February 9, 2024, for the Plaintiff to respond to Defendants’ Motion to

Dismiss.




      Respectfully submitted, this the 19th day of January, 2024.


      /S/ VALERIE L. BATEMAN                        /S/ JUNE K. ALLISON
      Valerie L. Bateman                            June K. Allison
      NEW SOUTH LAW FIRM                            NEW SOUTH LAW FIRM
      209 Lloyd St., Ste 350                        233 S. Laurel Avenue
      Carrboro, NC 27510                            Charlotte, NC 28207
      T: 919-810-3139                               Tel: 704-277-0113
      F: 919-823-6383                               Fax: 919-823-6383
      valerie@newsouthlawfirm.com                   june@newsouthlawfirm.com
      NC State Bar No. 13417                        NC State Bar No. 9673
      Attorney for Plaintiff                        Attorney for Plaintiff




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                          CERTIFICATE OF SERVICE
      The undersigned hereby certifies that this Motion was filed with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all

counsel of record who have made an appearance in this matter.

      This the 18th day of January, 2024.

                                             S/ VALERIE L. BATEMAN
                                             Valerie L. Bateman
                                             NEW SOUTH LAW FIRM




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